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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

USAMA AHMED,                                       :       CIVIL ACTION
         Plaintiff,                                :
                                                   :
       vs.                                         :       NO.    20-cv-01425
                                                   :
KILOLO KIJAKAZI, 1                                 :
Commissioner of Social Security,                   :
            Defendant.                             :


                                            ORDER

       AND NOW, this       27TH day of September, 2021, upon consideration of the Plaintiff’s

Request for Review (ECF No. 13), Defendant’s response thereto (ECF No. 14), Plaintiff’s Reply

in Support (ECF No. 15), and for the reasons provided in the accompanying Memorandum, IT IS

HEREBY ORDERED that:

       1.       The Plaintiff’s Request for Review is GRANTED;

       2.       This matter is REMANDED to the Commissioner for further proceedings

       consistent with the Court’s Memorandum accompanying this Order; and

       3.       This case shall be marked CLOSED for statistical purposes.


                                            BY THE COURT:


                                                 /s/ Lynne A. Sitarski           .
                                            LYNNE A. SITARSKI
                                            United States Magistrate Judge




       1
          Kilolo Kijakazi became the Acting Commissioner of Social Security on July 9, 2021.
Pursuant to Rule 25(d) of the Federal Rules of Civil Procedure, Kilolo Kijakazi has been
substituted for Andrew Saul as the Defendant in this case.
